    Case 1:21-cv-00896-MN Document 28 Filed 10/06/21 Page 1 of 4 PageID #: 356




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                       Chapter 11

    SS Body Armor I, Inc., et al., f/k/a Point Blank             Case No. 10-11255 (CSS)
    Solutions, Inc., et al.,
                                                                 (Jointly Administered)
                                     Debtors.1


    JON JACKS,                                                   Civ. Action No. 21-00895-MN

                                     Appellant,                  Civ. Action No. 21-00896-MN

              v.                                                 Civ. Action No. 21-00897-MN

    THE RECOVERY TRUST FOR SS BODY                               Civ. Action No. 21-00898-MN
    ARMOR I, INC., et al., f/k/a POINT BLANK
    SOLUTIONS, INC., et al. and SS BODY
    ARMOR I, INC. et al.,

                                     Appellees.


     STIPULATION AND ORDER FOR DISMISSAL OF APPEALS WITH PREJUDICE

             Pursuant to Fed. R. Bankr. P. 8023 and Fed. R. Civ. P. 41(a)(ii), Jon Jacks, individually

(the “Appellant”), the Recovery Trust for SS Body Armor I, Inc., et al., f/k/a Point Blank Solutions,

Inc., et al. (the “Recovery Trust”) and SS Body Armor I, Inc. (the “Post-Confirmation Debtor,”

and, collectively, with the Recovery Trust, the “Appellees”), and Brian K. Ryniker, Larry Ellis,

Sanjay Nayar, Rick Rosenbloom, and Jack Thurmon (collectively and solely in their respective




1
 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification numbers, are:
SS Body Armor I, Inc. (9361) (f/k/a Point Blank Solutions, Inc.); SS Body Armor II, Inc. (4044) (f/k/a Point Blank
Body Armor, Inc.); SS Body Armor III, Inc. (9051) (f/k/a Protective Apparel Corporation of America); and PBSS,
LLC (8203). All correspondence and pleadings for the Debtors must be sent to SS Body Armor I, Inc., et al., c/o
Pachulski Stang Ziehl & Jones LLP, 919 North Market St., 17th Floor, Wilmington, DE 19801, Attn: Laura Davis
Jones.
    Case 1:21-cv-00896-MN Document 28 Filed 10/06/21 Page 2 of 4 PageID #: 357




capacities as intervening parties, the “Interveners”,2 and together with the Appellees and the

Appellant, the “Parties”), constituting all the Parties to the above-caption appeals,3 hereby stipulate

that the above-captioned appeals (including all issues raised or that could have been raised therein)

be dismissed with prejudice, with each party to bear its own fees and costs, and waive all rights of

further appeal.




                                        [Signatures on following page]




2
  The Interveners appear in the following capacities: (i) Brian K. Ryniker, solely in his capacities as Recovery Trustee
of the Recovery Trust established pursuant to the Second Amended Joint Chapter 11 Plan of Liquidation Proposed by
Debtors and Official Committee of Unsecured Creditors and member of the Post-Confirmation Debtor Oversight
Committee, (ii) Larry R. Ellis, solely in his capacity as member of the Recovery Trust Committee, (iii) Sanjay Nayar,
solely in his capacity as member of the Recovery Trust Committee, (iv) Rick Rosenbloom, solely in his capacities as
member of the Post-Confirmation Debtor Oversight Committee and member of the Recovery Trust Committee, and
(v) Jack Thurmon, solely in his capacity as a member of the Post-Confirmation Debtor Oversight Committee.
3
 Although Carter Ledyard & Milburn LLP (“CLM”) is not a Party to the above-captioned appeals, the Parties have
consulted with CLM in light of its pending Motion to Dismiss that Portion of Appeal Relating to Approval of the CLM
Settlement and confirmed that CLM does not object to dismissal of the appeals as stipulated herein.

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Case 1:21-cv-00896-MN Document 28 Filed 10/06/21 Page 3 of 4 PageID #: 358




Respectfully submitted,

Dated: October 6, 2021
Wilmington, DE                                 THE ROSNER LAW GROUP LLC

PACHULSKI STANG ZIEHL
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 Counsel to the Interveners




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 Case 1:21-cv-00896-MN Document 28 Filed 10/06/21 Page 4 of 4 PageID #: 359




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SO ORDERED:




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